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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE

 NOVO NORDISK INC. and NOVO
 NORDISK A/S,

                 Plaintiffs,                 C.A. No. 23-101 (CFC)

                     v.                      ANDA CASE

 MYLAN PHARMACEUTICALS INC.,

                Defendant.

  DEFENDANT’S AMENDED MOTION FOR EXEMPTION OF PERSONS
   FROM THE DISTRICT OF DELAWARE’S MAY 15, 2023 STANDING
               ORDER ON PERSONAL DEVICES

      Defendant moves for an order to exempt certain persons from the District of

Delaware’s May 15, 2023 Standing Order on Procedures Regarding the Possession of

Use of Cameras and Personal Electronic Devices by Visitors to the J. Caleb Boggs

Federal Building and United States Courthouse (the “May 15, 2023 Standing Order”).

In support of this Motion, the parties state as follows:

      1.     The District of Delaware’s May 15, 2023 Standing Order provides

procedures to regulate the possession and use of personal electronic devices by visitors

to the J. Caleb Boggs Federal Building and United States Courthouse, which require

inter alia, for visitors to place personal electronic devices in a locked pouch provided

by U.S. Marshals. Paragraph 4 of the May 15, 2023 Standing Order provides for certain

exemptions to the Standing Order.

      2.     A Markman hearing is scheduled in this case for December 13, 2023, in
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Courtroom 4B.

      3.    The following persons intend to appear at the Markman hearing, require

access to their electronic devices, but do not have state issued bar cards or meet the

exemptions listed in Paragraph 4 of the May 15, 2023 Standing Order:

      • David L. Anstaett, Esq. – Lead Counsel for Mylan Pharmaceuticals, Inc.

      • Brandon M. White, Esq. – Lead Counsel for Mylan Pharmaceuticals, Inc.

      • Shannon M. Bloodworth, Esq. – Lead Counsel for Mylan Pharmaceuticals,
        Inc.

      • Matthew Greinert, Esq. – Lead Counsel for Mylan Pharmaceuticals, Inc.

      • Preston Imperatore, Esq. – Inhouse Counsel at Mylan Pharmaceuticals, Inc.

      WHEREFORE, Defendant respectfully request that the Court issue an order, in

the form attached hereto, to exempt certain persons from the District of Delaware’s

May 15, 2023 Standing Order.

Dated: December 7, 2023                       STAMOULIS & WEINBLATT LLC

                                              /s/ Stamatios Stamoulis
                                              Stamatios Stamoulis (#4606)
                                              Richard C. Weinblatt (#5080)
                                              800 N. West Street, Third Floor
                                              Wilmington, DE 19801
                                              (302) 999-1540
                                              stamoulis@swdelaw.com
                                              weinblatt@swdelaw.com

                                              Attorney for Defendant Mylan
                                              Pharmaceuticals, Inc.



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    SO ORDERED, this 8th day of December 2023.

                                  /s/ Colm F. Connolly
                                  _______________________________
                                  The Honorable Colm F. Connolly
                                  Chief, United States District Court




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